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IN THE UNITED STATES DISTRICT COURT MAY 29 2019
FOR THE DISTRICT OF MARYLAND

AT GHEENBELT

: é CLERK, U.S. DISTRICT GOURT ye
United States of America * DISTRICT OF MARYLAND y
ay DEPUTY
v. * Criminal Case No. DKC 17-0612
GEORGE SAMBUCA *
KEKE

REGULAR SENTENCING ORDER

(1) On or before July 8, 2019, the Probation Officer shall provide the initial draft of the
presentence report to counsel for the Defendant for review with the Defendant. If the Defendant
is in pretrial detention, defense counsel may not provide a copy of the recommendations section
of the presentence report to the Defendant in advance of meeting to review the presentence report,
and may not leave the recommendations section of the presentence report with the Defendant once
the review has taken place. The Probation Officer shall also provide the initial draft of the
presentence report to counsel for the Government.

(2) On or before July 22, 2019, counsel shall submit, in writing, to the Probation
Officer and opposing counsel, any objections to any material information, sentencing
classifications, advisory sentencing guideline ranges, or policy statements contained in or omitted
from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the Probation
Officer to discuss unresolved factual and legal issues. The Probation Officer shall make any
revisions to the presentence report deemed proper, and, in the event that any objections made by
counsel remain unresolved, the Probation Officer shall prepare an addendum setting forth those
objections and any comment thereon.

(4) On or before August 5, 2019, the Probation Officer shall file the report (and any

revisions and addendum thereto) through CM/ECF.

 

 
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(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before
Aus 30, 20!) g , a statement containing a statement containing (a) the names of the
witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated length
of the hearing.
(6) Sentencing memoranda are not required unless a party intends to request a sentence
outside the advisory guidelines range on the basis of a non-guideline factor. If submitted, they
shall be filed with the Clerk and a copy delivered to chambers on or before

fie 40209 . Opposing or responding memoranda are not required. If

submitted, they shall be delivered to chambers on or before Now. / 2A 9 . Copies of all
memoranda must be sent to the Probation Officer.

(7) Sentencing shall be on _AVU. KN, 2019 at G 2 fla) Sreenkcct

(8) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the Court
under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the Court
may consider any reliable information presented by the Probation Officer, the Defendant, or the
Government, and the Court may issue its own tentative or final findings at any time before or
during the sentencing hearing.

(9) Nothing in this Order requires the disclosure of any portions of the presentence
report that are not disclosable under Federal Rules of Criminal Procedure 32.
May 29, 2019 plidnstyl. Aarasay

DEBORAH K. CHASANOW
United States District Judge

 

 
